103 F.3d 118
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Cathy MILLER, Personal Representative for the Estate ofDavid L. Allison, deceased, Plaintiffs-Appellants,v.Roscoe RAMSEY, Jr., MD, Defendant-Appellee,andE.W. MURRAY, Director, Department of Cor rections;  E.B.Wright, Chief Warden;  P.A. Terrangi, DeputyWarden, Defendants.
    No. 95-6759.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 12, 1996.Decided Dec. 18, 1996.
    
      Cathy Miller, Appellant Pro Se.
      John B. Russell, Jr., Sands, Anderson, Marks &amp; Miller, Richmond, Virginia, for Appellee.
      Before MURNAGHAN, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant filed an untimely notice of appeal.  We dismiss the appeal for lack of jurisdiction.  The time periods for filing notices of appeal are governed by Fed.  R.App. P. 4.  These periods are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Parties to civil actions have thirty days within which to file in the district court notices of appeal from judgments or final orders.  Fed. R.App. P. 4(a)(1).  The only exceptions to the appeal period are when the district court extends the time to appeal under Fed.  R.App. P. 4(a)(5) or reopens the appeal period under Fed.  R.App. P. 4(a)(6).
    
    
      2
      The district court entered its order on April 12, 1995;  Appellant's notice of appeal was filed on May 18, 1995.  Appellant's failure to file a timely notice of appeal* or to obtain either an extension or a reopening of the appeal period leaves this court without jurisdiction to consider the merits of Appellant's appeal.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         The magistrate judge found that Appellant submitted the notice of appeal to prison authorities on May 16, 1995.  See Houston v. Lack, 487 U.S. 266 (1988).  All parties consented to the jurisdiction of the magistrate judge pursuant to 28 U.S.C. § 636(c) (1994)
      
    
    